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200 Old Country Road, Suite 2 South, Mineola, NY 11501/Tel: (516) 741-3222/Fax: (516) 741-3223

January 20, 2017

VIA ECF
Hon. Magistrate Judge Andrew J. Peck
United States District Court
Southern District of New York
500 Pearl Street
NYNY 10007 Re: Fischer v, Forrest, et al
Case No.: 14 cv 1304 and 14 cv 1307
Dear Judge Peck:

At the direction of the court at the last conference in the above matters, Fischer v.
Forrest, et al 14 cy 1304 and 14 cv 1307, I am writing on behalf of the parties to report
that the parties do not consent to trial of this matter by a Magistrate Judge.

Thank you for your courtesy and attention in this matter,

Sincerely,

 

OSCAR MICHELEN (OM 5199)

OM:sjk

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